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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                         CASE NO. 3:17-cv-00072
                                       Plaintiffs,

                           v.                            ORDER

     JASON KESSLER, et al.,
                                                         JUDGE NORMAN K. MOON
                                       Defendants.



          This case has been set for a Hearing on Motions in Limine (Dkts. 1144, 1145, 1147,

   1148, 1148, 1152, and 1153), on October 18, 2021 at 9:30 A.M. E.T., before United States

   District Judge Norman K. Moon. This hearing shall be conducted by Zoom videoconference. The

   United States Marshals Service is DIRECTED to have Christopher Cantwell available for the

   videoconference at that date and time so that he may participate in the case. Dial-in information

   will be separately sent by the Clerk’s Office forthwith.

          This case has been set for a Final Pretrial Conference on October 22, 2021 at 10:00

   A.M. E.T., at the Federal Courthouse in Charlottesville, also before United States District Judge

   Norman K. Moon. The United States Marshals Service is DIRECTED to have Christopher

   Cantwell available and transported to the Courthouse in person at that date and time so that he

   may participate in the case.

          It is so ORDERED.




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          The Clerk of the Court is directed to send a certified copy of this Order to the parties, to

   Mr. Cantwell, and to the United States Marshals Service.

          Entered this 15th     day of October, 2021.




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